           Case 3:21-cv-09528-EMC Document 82 Filed 02/25/22 Page 1 of 4




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 7
                                       U.S. DISTRICT COURT
 8
                           NORTHERN DISTRICT OF CALIFORNIA
 9

10                                   SAN FRANCISCO DIVISION

11
     MEDIA CHAIN, LLC,
12
                        Plaintiff,                 NO. 3:21-cv-009528-AGT
13
                                                   UNOPPOSED MOTION FOR PHILLIP
14         v.
                                                   N. SANOV TO WITHDRAW AS
                                                   COUNSEL FOR PLAINTIFF
15   ROKU, INC.,

16                                                 Honorable Edward M. Chen
                        Defendant.
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     UNOPPOSED MOTION TO WITHDRAW                            CASE NO. 3:21-CV-009528-AGT
              Case 3:21-cv-09528-EMC Document 82 Filed 02/25/22 Page 2 of 4




 1           The undersigned counsel, Phillip N. Sanov, Esq. (“Sanov”), pursuant to Local Rule 11-
 2   5(a), respectfully moves to withdraw as counsel of record for Plaintiff, MEDIA CHAIN, LLC
 3
     (“Plaintiff”), and in support thereof states as follows:
 4
             1.      This case was initially filed in the Western District of Texas.
 5
             2.      On August 4, 2021, Sanov, also with the firm of Morgan and Morgan, P.A.,
 6

 7 appeared as local counsel for Plaintiff. [DE 36.]

 8           3.      On December 10, 2021, this case was filed to the Northern District of California.

 9 California local California counsel appeared on Plaintiff’s behalf along with other attorneys who

10
     appeared pro hac vice.
11
             4.      On January 10, 2022, Plaintiff’s attorneys and local California counsel moved to
12
     withdraw due to irreconcilable differences (the “Motion”). Defendants did not oppose the motion
13
     and Plaintiff consented to the withdrawal. [DE 75.]
14

15           5.      On January 12, 2022, this Court granted the Motion and relieved Plaintiff’s local

16 California counsel, pro hac vice counsel, the law firms of Morgan and Morgan, P.A. and the

17 Brickell IP Group, PLLC of any further responsibility (the “Order”). [DE 77.]

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             6.      Due to an inadvertent mistake, the Motion and Order did not name Sanov. Sanov
19
     is not licensed to practice law in California and has not taken any active role in this matter. His
20
     law firm, Morgan and Morgan, P.A., has already withdrawn.
21

22           7.      The undersigned now seeks to amend the Court’s Order to include Sanov or have

23 the Court enter the attached Proposed Order allowing Sanov’s withdrawal.

24           8.      Plaintiff has been notified of this Motion in writing on February 21, 2022.
25           9.      Defendant does not oppose this motion.
26
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       UNOPPOSED MOTION TO WITHDRAW                                 CASE NO. 3:21-CV-009528-AGT
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             Case 3:21-cv-09528-EMC Document 82 Filed 02/25/22 Page 3 of 4




 1           10.    Given the insubstantial nature of this Motion, as well as the substantial burden to
 2 all parties in travelling and attending a hearing on this Motion, the undersigned respectfully

 3
     requests that the Court waive oral argument.
 4
             11.    This motion is not filed for purpose of, and the relief sought will not result in,
 5
     undue delay or prejudice to any party.
 6

 7           WHEREFORE, for the reasons stated, Counsel respectfully requests that the Court enter

 8   an order discharging Counsel, Phillip N. Sanov Esq. of the law firm Morgan & Morgan, P.A.,

 9   as attorney of record for Plaintiff, Media Chain, LLC.
10

11           I declare under penalty of perjury under the laws of the United States of America that

12   the foregoing is true and correct.

13           EXECUTED at San Francisco, California, this 25th day of February, 2022.
14

15                                            MORGAN & MORAGN
                                              COMPLEX LITIGATION GROUP
16
                                              By: /s/ Michael F. Ram
17                                                 Michael F. Ram
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       UNOPPOSED MOTION TO WITHDRAW                                CASE NO. 3:21-CV-009528-AGT
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            Case 3:21-cv-09528-EMC Document 82 Filed 02/25/22 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE
 2          I, Michael F. Ram, hereby certify that on February 25, 2022, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification to
 4   all registered CM/ECF users:
                     Michael A. Taitelman, CSB #156254
 5                   Email: mtaitelman@ftllp.com
 6                   Sean M. Hardy, CSB #266446
                     Email: smhardy@ftllp.com
 7                   FREEDMAN + TAITELMAN, LLP
                     1801 Century Park West, 5th Floor
 8                   Los Angeles, California 90067
                     Telephone: (310) 201-0005
 9
                     Facsimile: (310) 201-0045
10
                   Attorneys for Defendants
11
            DATED this 25th day of February, 2022.
12
                                               MORGAN & MORGAN COMPLEX LITIGATION
13                                             GROUP
14
                                               By: /s/ Michael F. Ram
15                                                 Michael F. Ram, SBN 104805
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      UNOPPOSED MOTION TO WITHDRAW                                CASE NO. 3:21-CV-009528-AGT
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